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                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII


GULSTAN E. SILVA, JR., as       )         Civil No. 15-00436 HG-KJM
Personal Representative of the  )
Estate of Sheldon Paul Haleck,  )
                                )
               Plaintiff,       )
                                )
          vs.                   )
                                )
CHRISTOPHER CHUNG; SAMANTHA     )
CRITCHLOW; AND STEPHEN KARDASH, )
                                )
                                )
               Defendants.      )
                                )

              ORDER #2 ON DEFENDANTS’ MOTIONS IN LIMINE

DEFENDANTS’ MOTION IN LIMINE NO. 1

MOTION TO EXCLUDE EXPERT OPINIONS BY RICHARD LICHTEN (ECF No.
271) is DENIED


       Defendants’ Motion in Limine No. 1 seeks to exclude

Plaintiff’s expert on police practices, Mr. Richard Lichten, on

the basis that he is not qualified to provide expert opinions.

       Federal Rule of Evidence 702 provides that “scientific,

technical, or other specialized knowledge” by a qualified expert

is admissible if it will “help the trier of fact to understand

the evidence or to determine a fact in issue.”          Fed. R. Civ. P.

702.

       The United States Supreme Court held in Daubert v. Merrell

Dow Pharms., 509 U.S. 579, 589 (1993) that the District Court has


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a gatekeeping responsibility to objectively screen expert

testimony to ensure that it is not only relevant, but reliable.

The District Court’s obligation applies to technical and other

specialized knowledge as well as testimony based on scientific

knowledge.    Kumho Tire Co. v. Carmichael, 526 U.S. 137, 141-42

(1999).

      The Ninth Circuit Court of Appeals has explained that expert

testimony is relevant if the evidence logically advances a

material aspect of the party’s case.         Estate of Barabin v.

AstenJohnson, Inc., 740 F.3d 457, 463-64 (9th Cir. 2014).            The

Court must consider if an expert’s testimony has a reliable basis

in the knowledge and experience of the relevant discipline.

Kumho, 526 U.S. at 149.

      Expert opinion evidence that logically advances a material

aspect of the party’s case or is helpful to the jury is relevant.

Cooper v. Brown, 510 F.3d 870, 942 (9th Cir. 2007).           An expert’s

testimony need not go to an ultimate issue to be relevant

pursuant to Federal Rule of Evidence 702.         Smith v. Ford Motor

Co., 215 F.3d 713, 721 (7th Cir. 2000).

      Mr. Lichten bases his expert opinions upon his thirty years

of experience and the written policies of the Honolulu Police

Department.     Mr. Lichten has been certified as an expert by

numerous federal and state courts in the field of police

practices.    The Court finds that Mr. Lichten has the requisite


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skill, education, training, and experience to testify as an

expert about police practices.

      Qualified experts, such as Mr. Lichten, may testify about

police practices and whether the particular actions of a police

officer in a given situation comports with law enforcement’s

standards.    M.R. v. City of Azusa, 2014 WL 12839737, *8 (C.D.

Cal. Oct. 1, 2014) (finding Mr. Lichten was permitted to provide

expert testimony about police practices standards and whether a

reasonable officer would have acted as the defendant officer in

the situation at issue); Smith v. City of Hemet, 394 F.3d 689,

703 (9th Cir. 2005) (admitting expert testimony that relied on a

department’s written standards and training in discussing whether

the officers’ conduct comported with the law enforcement’s

standards).

      Mr. Lichten may not testify, however, about facts that are

not in evidence.     Defendants argue that Mr. Lichten’s report is

based on facts that do no exist, specifically that Haleck was

dragged by the Defendant Officers and that the Taser’s probes

actually penetrated Haleck’s skin.        Mr. Lichten is precluded from

testifying about such information if there is no evidentiary

basis presented at trial.

      Mr. Lichten also may not testify as to the ultimate legal

conclusion as to whether an individual Defendant Officer used

excessive force in violation of the Fourth Amendment to the


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United States Constitution.

      Defendants’ Motion in Limine No. 1 To Exclude Expert

Opinions By Richard Lichten (ECF No. 271) is DENIED.


DEFENDANTS’ MOTION IN LIMINE NO. 2

MOTION TO ENFORCE THE WITNESS EXCLUSIONARY RULE (ECF No. 272) is
GRANTED


      Federal Rule of Evidence 615, known as the witness

exclusionary rule, provides:

      At a party’s request, the court must order witnesses
      excluded so that they cannot hear other witnesses’
      testimony. Or the court may do so on its own. But
      this rule does not authorize excluding:

            (a)   a party who is a natural person;

            (b)   an officer or employee of a party that is not
                  a natural person, after being designated as
                  the party’s representative by its attorney;

            (c)   a person whose presence a party shows to be
                  essential to presenting the party’s claim or
                  defense; or

            (d)   a person authorized by statute to be present.

      Fed. R. Evid. 615.

      Defendants request to invoke the witness exclusionary rule.

      Defendants’ Motion in Limine No. 2 To Invoke the Witness

Exclusionary Rule (ECF No. 272) is GRANTED.          Witnesses are

excluded from sitting in the gallery of the courtroom until after

they have completed their testimony.         If there is a possibility

of a witness being re-called for rebuttal or called by the


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opposing side, the witness remains excluded.          The attorneys for

the Parties must obtain a waiver to the Witness Exclusionary Rule

from the Court for any witness to be present in the Courtroom.


DEFENDANTS’ MOTION IN LIMINE NO. 3

MOTION TO ADMIT EVIDENCE OF PRIOR DRUG USE AND DRUG USE ON THE
DAY OF THE INCIDENT (ECF No. 273)


      The ruling on Defendants’ Motion in Limine No. 3 is set

forth in the Court’s Order #3 on Motions in Limine.


DEFENDANTS’ MOTION IN LIMINE NO. 4

MOTION TO ADMIT EVIDENCE OF HALECK’S ACCIDENTS AND INJURIES
SUSTAINED ONE DAY PRIOR TO THE INCIDENT (ECF No. 274)


      The ruling on Defendants’ Motion in Limine No. 4 is set

forth in the Court’s Order #3 on Motions in Limine.


DEFENDANTS’ MOTION IN LIMINE NO. 5

MOTION TO EXCLUDE REFERENCES TO OTHER INCIDENTS OF POLICE
MISCONDUCT OR BRUTALITY (ECF No. 275) is GRANTED


      Defendants seek to preclude Plaintiff from introducing other

unrelated incidents of police misconduct or alleged brutality as

such evidence is irrelevant and prejudicial.

      Plaintiff has not put forward any evidence that he seeks to

introduce of other incidents or police misconduct or brutality.

Plaintiff, however, opposes the Motion on the basis that he may


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want to rebut the Defendants’ contention that Tasers cannot cause

serious injury or death.       He also claims that other incidents may

be relevant for damages.

      Other acts evidence is not admissible pursuant to Fed. R.

Evid. 404(b) except for limited purposes such as knowledge and

intent.    Plaintiff has not put forward any other incidents that

he wishes to introduce as relevant or admissible pursuant to Fed.

R. Evid. 401, 402, or 404(b).       In addition, such evidence is

likely inadmissible as unduly prejudicial pursuant to Fed. R.

Evid. 403.    Courts have regularly held that evidence of other

unrelated incidents of police misconduct is inadmissible.            Duran

v. City of Maywood, 221 F.3d 1127, 1132-33 (9th Cir. 2000)

(evidence of another unrelated shooting involving the officer

defendant was not admissible as unduly prejudicial); Castro v.

Cnty. of Los Angeles, 2015 WL 4694070, *11-*12 (C.D. Cal. Aug. 3,

2015) (evidence of police killings of civilians in other cases

and the protests related thereto was inadmissible); Puckett v.

Zamora, 2015 WL 3869662, *2 (E.D. Cal. June 23, 2015) (evidence

of other unrelated incidents were inadmissible).

      Defendants’ Motion In Limine No. 5 To Exclude References To

Other Incidents Of Police Misconduct Or Brutality (ECF No. 275)

is GRANTED.

      Plaintiff may not present other such incidents without

providing notice and an opportunity for Defendants’ to object


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outside of the hearing of the jury.


DEFENDANTS’ MOTION IN LIMINE NO. 6

MOTION TO PRECLUDE PREJUDICIAL PICTURES (ECF No. 276) is GRANTED,
IN PART


      Defendants seek to exclude unnecessarily gruesome and

inflammatory pictures of the Decedent, including pictures of his

brain, private parts, and other prejudicial matters.

      Plaintiff specifically seeks to introduce the autopsy photos

set forth in Exhibits 27 and 28 as he claims the exhibits contain

the only images depicting the extent of the Decedent’s injuries.

      Relevant evidence is admissible unless its probative value

is substantially outweighed by a danger of unfair prejudice,

confusing the issues, misleading the jury, undue delay, wasting

time, or needlessly presenting cumulative evidence.           Fed. R.

Evid. 403.

       Evidence is unfairly prejudicial when its probative value

is outweighed because of its ability to appeal to the jury’s

sympathies, arouse jurors’ sense of horror, provoke a jury’s

instinct to punish, and trigger other intense human reactions.

WEINSTEIN’S FEDERAL EVIDENCE § 403.04[1][c]; Sanchez v. Jiles,

2012 WL 13005996, *5 (C.D. Cal. June 14, 2012) (explaining that

autopsy photos have a strong possibility to inflame the juror’s

sympathies and excluding cumulative and inflammatory photos as

prejudicial).

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      Defendants’ Motion in Limine No. 6 (ECF No. 276) is GRANTED,

IN PART, as to images that are unnecessary, cumulative, and

inflammatory.

      The Parties have agreed to review the numerous pictures they

have included in the exhibits and provide the Court the actual

pictures they wish to enter into evidence.

      If the Parties cannot agree as to the photographs to present

to the jury, the Court will rule on the specific photographs to

be admitted into evidence.


DEFENDANTS’ MOTION IN LIMINE NO. 7

MOTION TO EXCLUDE ANY REQUEST FOR PUNITIVE DAMAGES, AND ANY
ARGUMENT OR EVIDENCE OF INDEMNIFICATION (ECF No. 277) is GRANTED,
IN PART, AND DENIED, IN PART


      Defendants seek to preclude evidence of indemnification of

the Defendant Officers by the City and County of Honolulu.

Defendants also seek to preclude evidence and argument relating

to punitive damages against the Defendant Officers.


      A.    Indemnification


      Defendants’ Motion in Limine No. 7 first requests to

preclude any evidence or argument of indemnification of the

individual Officers by the City and County of Honolulu for any

damages award.

      Plaintiff does not oppose this portion of the Motion and

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agrees that evidence and argument about indemnification is

impermissible.


      B.    Punitive Damages


      Defendants’ Motion also seeks to preclude Plaintiff from

seeking punitive damages from the individual Defendant Officers

based upon the rulings in the Court’s June 28, 2017 Order on the

Motions for Summary Judgment.

      The Parties did not raise the issue of punitive damages

against the Officers for an excessive force claim pursuant to 42

U.S.C. § 1983 in the Motions for Summary Judgment.           The Court’s

Order on Summary Judgment only ruled on the issue of the

Defendant Officers’ conditional privilege pursuant to Hawaii

state law.    The Court found that there was no evidence of “actual

malice” for purposes of conditional privilege.          (Order at pp. 54-

55, ECF No. 224).

      The standard for punitive damages pursuant to Section 1983

is not limited to actual malice.          Punitive damages in Section

1983 cases “mirrors the standard for punitive damages under

common law tort cases.”      Dang v. Cross, 422 F.3d 800, 807 (9th

Cir. 2005).     A “jury may award punitive damages under Section

1983 either when a defendant’s conduct was driven by evil motive

or intent, or when it involved a reckless or callous indifference

to the constitutional rights of others.”          Id.


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       The Court reserves ruling on whether an instruction on

 punitive damages is necessary until after the evidence is

 presented at trial.     The Parties may not reference punitive

 damages to the jury until a determination is made as to whether

 there is sufficient evidence to warrant putting the issue of

 punitive damages before the jury.

       Defendants’ Motion in Limine No. 7 To Exclude Any Request

 For Punitive Damages, And Any Argument Or Evidence Of

 Indemnification (ECF No. 277) is GRANTED, IN PART.

       The Motion is granted as to evidence of indemnification.            A

 ruling on the issue of punitive damages would be premature.


 DEFENDANTS’ MOTION IN LIMINE NO. 8

 MOTION TO PRECLUDE EVIDENCE OF OR REFERENCE TO UNPLEAD OR
 DISMISSED CLAIMS (ECF No. 278) is GRANTED, IN PART, AND DENIED,
 IN PART

       A.    Dismissed Claims Against The City and Other Defendants


       Defendants’ Motion in Limine No. 8 seeks to preclude

 evidence relating to the claims that were dismissed as to the

 City and County of Honolulu and former Police Chief Louis

 Kealoha.

       Plaintiff does not oppose Defendants’ Motion No. 8 on these

 grounds.




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       B.    Evidence of Training Materials


       Defendants’ Motion also seeks to preclude evidence relating

 to the Honolulu Police Department’s training.         Such evidence is

 relevant and admissible as discussed in the ruling on Defendants’

 Motion in Limine No. 14 below.


       C.    Evidence Of Deliberate Indifference


       Defendants assert that Plaintiff should be precluded from

 presenting any evidence or argument of unplead claims,

 specifically claims for deliberate indifference to the Decedent’s

 medical needs.

       No claim for deliberate indifference against the three named

 Defendant Officers has been asserted.        Plaintiff is precluded

 from making any arguments concerning deliberate indifference.

 Deliberate indifference claims are distinct and have completely

 different legal standards from excessive force claims.           See e.g.,

 Castro v. Cnty. of Los Angeles, 833 F.3d 1060, 1070 (9th Cir.

 2016).

       Here, Plaintiff’s claim is limited to purported violations

 of the Fourth Amendment to the United States Constitution and the

 force used by the three Defendant Officers in relation to the

 incident of March 16, 2015.       Any purported acts or omissions

 relating to a claim for deliberate indifference were never plead

 and are not an issue before the jury.

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       Defendants’ Motion in Limine No. 8 To Preclude Evidence Or

 Reference To Unplead Or Dismissed Claims (ECF No. 278) is

 GRANTED, IN PART, AND DENIED, IN PART.


 DEFENDANTS’ MOTION IN LIMINE NO. 9

 MOTION TO PRECLUDE EVIDENCE OF SHELDON HALECK’S FEELINGS (ECF No.
 279) is GRANTED, IN PART


       Defendants seek to exclude evidence as to the Decedent’s

 feelings.

       Plaintiff opposes the Motion and argues that such evidence

 is relevant to damages, including the Decedent’s pain and

 suffering.

       Pursuant to Federal Rule of Evidence 701, a lay witness may

 provide testimony in the form of an opinion if it is limited to

 one that is:

       (a)   rationally based on the witness’s perception;

       (b)   helpful to clearly understanding the witness’s
             testimony or to determining a fact in issue; and

       (c)   not based on scientific, technical, or other
             specialized knowledge within the scope of Rule 702.

       Fed. R. Evid. 701.

       A lay witness may not speculate and may not state what he or

 she believes the Decedent may have been thinking or feeling with

 respect to the March 16, 2015 incident.

       Defendants’ Motion in Limine No. 9 To Preclude Evidence Of

 Sheldon Haleck’s Feelings (ECF No. 279) is GRANTED, IN PART.

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       The lay witnesses may testify as to their own perceptions

 and own observations including whether they observed the Decedent

 appear to experience pain.      Moreno v. Los Angeles Cnty. Sheriff’s

 Dept., 2015 WL 4652637, *8 (C.D. Cal. Aug. 3, 2015) (citing Jones

 v. Warmee, 225 F.2d 258, 260 (9th Cir. 1955)(lay witnesses are

 competent to testify to observed pain and suffering caused by

 injuries)).


 DEFENDANTS’ MOTION IN LIMINE NO. 10

 MOTION TO EXCLUDE ALL TESTIMONY AND EVIDENCE OF PERSONAL LOSS
 EXPERIENCED BY INDIVIDUALS OTHER THAN SHELDON HALECK (ECF No.
 280) is GRANTED


       In the Court’s June 28, 2017 Order, it ruled that the only

 remaining Plaintiff is Gulstan E. Silva, Jr., as Personal

 Representative of the Estate of Sheldon Paul Haleck.

       Plaintiff concedes that he is not seeking any damages on

 behalf of any other party.      Damages are limited to the Estate of

 the Decedent.    The family members of the Decedent may testify as

 to the loss experienced by the Decedent and his Estate, including

 compensatory damages and hedonic damages that are relevant for

 the jury.

       Defendants’ Motion in Limine No. 10 To Exclude All Testimony

 And Evidence Of Personal Loss Experienced By Individuals Other

 Than Sheldon Haleck (ECF No. 280) is GRANTED.




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 DEFENDANTS’ MOTION IN LIMINE NO. 11

 MOTION TO EXCLUDE ALL LAY TESTIMONY REGARDING THE EXISTENCE OF
 TASER WOUNDS, MARKS, AND PROBES AND/OR ANY WITNESS WITHOUT
 PERSONAL KNOWLEDGE THAT SHELDON HALECK WAS TASERED, AND/OR
 REASONABLENESS OF THE USE OF FORCE (ECF No. 281) is GRANTED


       Defendants seek to preclude any lay witness from providing

 opinion testimony about the use of Tasers, the Officers’ use of

 force, and whether a Taser caused marks and wounds on the

 Decedent’s body.     Specifically, Defendants seek to preclude such

 testimony from the Decedent’s father who was an agent with the

 Drug Enforcement Administration.         The Decedent’s father was never

 noticed as an expert witness and did not provide an expert

 report.

       The matters involving police practices and the use of Tasers

 are matters which require specialized or technical knowledge that

 require expert testimony.      Fed. R. Evid. 702.

       Such testimony requires disclosure pursuant to Fed. R. Civ.

 P. 26.

       The Decedent’s father was not disclosed as an expert and may

 not testify as an expert regarding Tasers, use of force, or

 police practices.

       Testimony as to a Taser wound or mark on the Decedent’s body

 requires either expert testimony or lay opinion testimony based

 on personal observation.      A lay witness may testify as to a Taser

 mark based on his or her own personal observation such as that a


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 Taser probe caused the mark.       Fed. R. Evid. 701.     There is no

 evidence that the Decedent’s father was present at the scene of

 the incident or personally observed a Taser probe cause any

 specific marks on the Decedent’s body.        There must be an offer of

 proof to establish a basis for the Decedent’s father to testify

 about the existence of marks or wounds that were caused by a

 Taser before he is allowed to testify to such information.

       Defendants’ Motion in Limine No. 11 To Exclude All Lay

 Testimony Regarding The Existence Of Taser Wounds, Marks, And

 Probes And/Or Any Witness Without Personal Knowledge That Sheldon

 Haleck Was Tasered, And/Or Reasonableness Of The Use Of Force

 (ECF No. 281) is GRANTED.


 DEFENDANTS’ MOTION IN LIMINE NO. 12

 MOTION TO EXCLUDE INFLAMMATORY DESCRIPTIONS OF DECEDENT’S DEATH
 (ECF No. 282) is GRANTED


       Defendants seek to preclude Plaintiff from arguing or

 eliciting testimony that the Decedent was “murdered” or was the

 victim of a criminal act.

       Defendants also seek to preclude Plaintiff from eliciting

 testimony from any non-expert witnesses as to the term

 “homicide.”

       Plaintiff agrees to instruct his witness not to use

 inflammatory terms or phrases.

       The meaning of “homicide” for purposes of this case is

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 limited to the autopsy report and the death certificate.             The

 term “homicide” cannot be put before the jury until the term has

 been explained by the medical experts Dr. Christopher Happy

 and/or Dr. Stacey Hail.      Only the two qualified medical experts

 may explain the meaning of “homicide” within the context of the

 autopsy report and the death certificate.

       Defendants’ Motion in Limine No. 12 To Exclude Inflammatory

 Descriptions Of Decedent’s Death (ECF No. 282) is GRANTED.


 DEFENDANTS’ MOTION IN LIMINE NO. 13

 MOTION TO EXCLUDE QUEENS MEDICAL CENTER DOCTORS AND NURSES FROM
 OPINING ON CAUSE OF DEATH OR THE EXISTENCE OF TASER PROBE WOUNDS
 OR MARKS (ECF No. 283) is GRANTED, IN PART, AND DENIED, IN PART


       Defendants seek to preclude testimony from the Queen’s

 Medical Center doctors and nurses who treated the Decedent.

 Defendants claim that any testimony from Queen’s Medical Center

 Staff would have been required to be disclosed pursuant to Fed.

 R. Civ. P. 26 and subject to Daubert.

       A treating physician is not considered an expert witness if

 he or she testifies about personal observations.          Davoll v. Webb,

 194 F.3d 116, 1138 (10th Cir. 1999).        A physician or nurse may

 testify regarding factual matters appropriate for a lay witness

 such as the presence of swelling or bruising following an

 accident.    Bryan v. Whitfield, 2015 WL 11109792, *2 (N.D. Fla.

 July 15, 2015); see Reardon v. Progressive Northwestern Ins. Co.,


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 2011 WL 13234275, *2 (W.D. Wash. Mar. 31, 2011).

       Here, the treating doctors and nurses from Queen’s Medical

 Center may testify as to their personal observations.           The staff

 members may not provide expert testimony as they were not

 disclosed as experts and did not provide expert reports.             The

 staff may testify about treatment of the Decedent following the

 incident on March 16, 2015, including the existence of Taser

 probe wounds if such information is based on their personal

 observations.

       Defendants’ Motion in Limine No. 13 To Exclude Queens

 Medical Center Doctors And Nurses From Opining On Cause Of Death

 Or The Existence Of Taser Probe Wounds Or Marks (ECF No. 283 is

 GRANTED, IN PART, AND DENIED, IN PART.


 DEFENDANTS’ MOTION IN LIMINE NO. 14

 MOTION TO EXCLUDE ANY EVIDENCE OR TESTIMONY REGARDING HPD POLICY
 OR TRAINING (ECF No. 284) is DENIED


       Defendants’ Motion in Limine No. 14 seeks to preclude any

 evidence as to the Defendant Officers’ training.

       Plaintiff opposes the Motion.       Plaintiff asserts that

 although there is not a negligent training cause of action

 remaining against the City, evidence as to the Defendant

 Officers’ training is relevant.

       The evidence of the Honolulu Police Department’s policies

 and training of the Defendant Officers before the incident is

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 relevant and admissible.      Specifically, the evidence is relevant

 to the Defendant Officers’ understanding of the protocols for use

 of force and the core issues at trial.

       Plaintiff agrees that there will be no evidence of any

 changes to the Honolulu Police Department’s policies or training

 after the incident and no evidence of any subsequent remedial

 measures.

       Defendants’ Motion in Limine No. 14 To Exclude Any Evidence

 Or Testimony Regarding HPD Policy Or Training (ECF No. 284) is

 DENIED.


                                 CONCLUSION


       Defendants’ Motion in Limine No. 1 To Exclude Expert

 Opinions By Richard Lichten (ECF No. 271) is DENIED.

       Defendants’ Motion in Limine No. 2 To Invoke the Witness

 Exclusionary Rule (ECF No. 272) is GRANTED.

       Defendants’ Motion In Limine No. 5 To Exclude References To

 Other Incidents Of Police Misconduct Or Brutality (ECF No. 275)

 is GRANTED.

       Defendants’ Motion in Limine No. 6 (ECF No. 276) is GRANTED,

 IN PART, as to the images that are unnecessary, cumulative, and

 inflammatory.

       Defendants’ Motion in Limine No. 7 To Exclude Any Request

 For Punitive Damages, And Any Argument Or Evidence Of

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 Indemnification (ECF No. 277) is GRANTED, IN PART .

       Defendants’ Motion in Limine No. 8 To Preclude Evidence Or

 Reference To Unplead Or Dismissed Claims (ECF No. 278) is

 GRANTED, IN PART, AND DENIED, IN PART.

       Defendants’ Motion in Limine No. 9 To Preclude Evidence Of

 Sheldon Haleck’s Feelings (ECF No. 279) is GRANTED, IN PART.

       Defendants’ Motion in Limine No. 10 To Exclude All Testimony

 And Evidence Of Personal Loss Experienced By Individuals Other

 Than Sheldon Haleck (ECF No. 280) is GRANTED.

       Defendants’ Motion in Limine No. 11 To Exclude All Lay

 Testimony Regarding The Existence Of Taser Wounds, Marks, And

 Probes And/Or Any Witness Without Personal Knowledge That Sheldon

 Haleck Was Tasered, And/Or Reasonableness Of The Use Of Force

 (ECF No. 281) is GRANTED.

       Defendants’ Motion in Limine No. 12 To Exclude Inflammatory

 Descriptions Of Decedent’s Death (ECF No. 282) is GRANTED.

       Defendants’ Motion in Limine No. 13 To Exclude Queens

 Medical Center Doctors And Nurses From Opining On Cause Of Death

 Or The Existence Of Taser Probe Wounds Or Marks (ECF No. 283 is

 GRANTED, IN PART, AND DENIED, IN PART.

       Defendants’ Motion in Limine No. 14 To Exclude Any Evidence

 Or Testimony Regarding HPD Policy Or Training (ECF No. 284) is

 DENIED.


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       IT IS SO ORDERED.

       Dated: May 21, 2019, Honolulu, Hawaii.




 Gulstan E. Silva, Jr. as Personal Representative of the Estate of
 Sheldon Haleck v. Christopher Chung; Samathan Critchlow; and
 Stephen Kardash, Civil No. 15-00436 HG-KJM; ORDER #2 ON
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